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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UBIQUITI NETWORKS, INC.,


                            Plaintiff,

v.
                                                  Civil Action No.: 1:18-cv-05369
CAMBIUM NETWORKS, INC.;
CAMBIUM NETWORKS, LTD.;                           JURY TRIAL DEMANDED
BLIP NETWORKS, LLC;
WINNCOM TECHNOLOGIES, INC.;
SAKID AHMED; and DMITRY MOISEEV,

                            Defendants.


              DEFENDANTS’ NOTICE OF SERVICE AND COMPLIANCE


       Defendants Cambium Networks, Inc.; Cambium Networks, Ltd.; BLIP Networks, LLC;

Winncom Technologies, Inc.; Sakid Ahmed; and Dmitry Moiseev hereby give notice that they

served their Mandatory Initial Discovery Responses to all counsel of record on December 5,

2018 via electronic mail.


Dated: December 5, 2018                      Respectfully submitted,

                                             BAKER BOTTS, LLP

                                            /s/ G. Hopkins Guy, III
                                                 One of their attorneys

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